Entered: May 06, 2008      Case 07-22153       Doc 35     Filed 05/08/08      Page 1 of 3
Signed: May 05, 2008

SO ORDERED




                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF MARYLAND
                                            at Baltimore

       In Re:                                               *
       CYNTHIA D. COTTON                                    *     Case No.      07-22153DK
                                                            *     Chapter       13
                                                            *
                                                            *
                             Debtor(s)                      *

                                   ORDER LIMITING ALLOWED FEE
                              AND GRANTING WITHDRAWAL BY COUNSEL

               For the reasons set forth on the record at a hearing held on April 23, 2008, it is by the United

      States Bankruptcy Court for the District of Maryland,

               ORDERED, that the attorney’s fee of attorney James R. Logan in this case is limited to, and

      allowed as an administrative expense in the total amount of $1,000.00, the unpaid balance of which

      amount shall be disbursed by the Trustee as provided for in the confirmed plan; and it is further

               ORDERED, that the oral motion of attorney Logan to withdraw appearance as counsel for

      the debtor in this case is granted.
                 Case 07-22153   Doc 35   Filed 05/08/08   Page 2 of 3




cc:   Trustee
      Debtor
      James R. Logan, Esq.
      United States Trustee


                                   End of Order




                                          2
                                 Case 07-22153           Doc 35        Filed 05/08/08         Page 3 of 3
 Bankruptcy Noticing Center
 2525 Network Place, 3rd Floor
                                 CERTIFICATE OF SERVICE
 Herndon, Virginia 20171-3514

 District/off: 0416-1                 User: jjohnson                      Page 1 of 1                         Date Rcvd: May 06, 2008
 Case: 07-22153                       Form ID: pdfparty                   Total Served: 2

 The following entities were served by first class mail on May 08, 2008.
 db           +Cynthia D Cotton,   1128 Wilson Avenue,   Gwynn Oak, MD 21207-4714
              +US trustee,   101 West Lombard Street,   2nd Floor,   Baltimore, MD 21201-2605
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: May 08, 2008                                      Signature:
